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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSEPH VITALE, et al                      :
                 Plaintiffs,              :
                                          :    CIVIL ACTION
              v.                          :
                                          :    NO. 15-cv-01815-RAL
ELECTROLUX HOME                           :
PRODUCTS, INC:                            :
               Defendant.                 :

                                MEMORANDUM

RICHARD A. LLORET, M.J.                                             AUGUST 14, 2018

       Before me are several motions in limine filed by both plaintiffs Joseph and Ursy

A. Vitale (collectively “the Vitales”) and defendant Electrolux Home Products, Inc.

       This is a subrogation action in which the Vitales, through their homeowners

insurance carrier Allstate, seek to recover sums paid out pursuant to an insurance claim

settlement. The Vitales filed the underlying insurance claim after a fire at their home.

The Vitales, through Allstate, allege that the damage resulted from an allegedly defective

gas clothes dryer (the “subject dryer”) designed, manufactured, distributed, and/or sold

by Electrolux.

       The Vitales filed an Omnibus Motion to Preclude Certain Evidence (ECF No. 47)

and a Motion in Limine to Exclude Industry Standard Evidence and the Dryer Design

Opinions of Randall Bills, P.E. (ECF No. 70). Electrolux filed eleven separate motions in

limine (ECF Nos. 36, 41, 43, 44, 46, 48, 49, 50, 51, 52, and 53) addressing eleven

discrete evidentiary requests. I will address the Vitales’ motions before turning to

Electrolux’s motions.
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                                  EVIDENTIARY RULES

         My decisions on the parties’ motions in limine are guided by the following

evidentiary rules.

         “Evidence is relevant if . . . it has any tendency to make a fact more or less

probable than it would be without the evidence; and . . . the fact is of consequence in

determining the action.” Fed. R. Evid. 401(a) and (b). Rule 402 directs that “evidence

which is not relevant is not admissible.” Fed. R. Evid. 402. The “basic standard of

relevance is thus a liberal one.” Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 587

(1993).

         Second, even relevant evidence may be excluded “if its probative value is

substantially outweighed by a danger of . . . unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence.” Fed. R. Evid. 403. A “danger of unfair prejudice” may result from evidence

that “appeals to the jury's sympathies, arouses its sense of horror, provokes its instinct

to punish, or otherwise may cause a jury to base its decision on something other than

the established propositions in the case.” Carter v. Hewitt, 617 F.2d 961, 972 (3d Cir.

1980).

         I reserve discussion of more specific evidentiary concerns for the individual

motions, addressed in detail below.

                                 PLAINTIFFS’ MOTIONS

1. ECF No. 47 – Plaintiffs’ Omnibus Motion to Preclude Certain Evidence

         The Vitales move to exclude: (1) evidence of administrative agency inaction with

respect to the dryer model that allegedly caused the damage to their home; (2) evidence

that the dryer in question was designed and manufactured in voluntary compliance with


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industry standard ANSI Z21.5.1; (3) evidence of depreciation and actual cash value

calculations made by Allstate in adjusting and settling the Vitales’ insurance claim; and

(4) evidence that the Vitales possessed a policy of insurance.

       (1) The Vitales’ motion to preclude evidence of administrative agency inaction is

GRANTED. I caution the parties that I may revisit this ruling should the Consumer

Products Safety Commission (CPSC) complete its investigation prior to trial. The Vitales

seek to preclude any mention by Electrolux of the fact that no administrative agency has

issued a recall or other consumer warning regarding the subject dryer.

       Because the Vitales allege that the subject dryer was defective, the lack of any

administrative action aimed to protect consumers from the subject dryer is relevant to

Electrolux’s defense that the subject dryer is not defective. Fed. R. Evid. 401 requires

only that the proposed evidence have “any tendency” to make a fact of consequence

more or less probable. The evidence satisfies Rule 401’s minimal requirement, but Rule

403 is a different story.

       While one could draw an inference from the lack of administrative action that the

product is safe, the reality is that the inference has faint probative value. The lack of a

defect is just one of any number of reasons that might explain a lack of administrative

action. Explaining the basis of the inference of safety would require an explanation of

the jurisdiction and mandate of the CPSC. It would require delving into the likelihood

that the product defect would come to the CPSC’s attention and meet the CPSC’s

threshold for investigation. Defending against the inference would require an

explanation of the reasons for the absence of agency action that do not center on the

safety of the product. This evidentiary issue promises to focus a great deal of trial time

and jury attention on the inner workings of the CPSC, while providing at best an


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indeterminate evidentiary “payoff” for what should be the focal point of the trial:

whether the product was defective. No doubt there will be more direct and forceful proof

of the product’s safety, or lack of safety, introduced by the parties. See Fed. R. Evid. 403

(a court may exclude relevant evidence when the probative value is substantially

outweighed by the risk of jury confusion and wasted time).

       The Vitales point to the CPSC’s enabling act as support for their contention that

evidence of a lack of recall is inadmissible. The statute states that “[t]he failure of the

Commission to take any action . . . with respect to the safety of a consumer product shall

not be admissible in evidence in litigation . . . .” 15 U.S.C. § 2074(b). The parties inform

me that the CPSC has initiated an investigation to determine whether a recall notice

should be issued for Electrolux dryers, including the model of the subject dryer. Pls.’

Mot. in Lim. (ECF No. 47-1, at 4). This brings into play the possibility that the

defendants might attempt to introduce the CPSC’s refusal to take action after

investigating the product, rather than a complete failure to investigate the product. Such

an evidentiary predicate promises to be more fruitful, and may change the balancing

under Rule 403. See Cummins v. BIC USA, Inc., 727 F.3d 506, 513 (6th Cir. 2013)

(section 2074(b) bars evidence of the “complete failure by the CPSC to engage in activity

on a product,” not an investigation followed by a decision not to take action).

       I recognize that a district court should be cautious about granting a motion to

exclude under Rule 403 before trial. In re Paoli R.R. Yard PCB Litigation, 35 F.3d 717,

783 n.50 (3d Cir. 1994). Under the present circumstances, it seems appropriate to grant

the motion to preclude at this time, but to permit the parties to revisit the issue if

circumstances concerning the CPSC investigation change.




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       (2) The Vitales’ motion to preclude evidence that the dryer in question was

designed and manufactured in voluntary compliance with industry standard ANSI

Z21.5.1 is DENIED. In addition to strict liability, the Vitales allege that Electrolux was

negligent, breaching “a duty to exercise reasonable care in the design . . . of the subject

dryer.” Compl., ¶ 46 (ECF No. 1-4). Evidence presented to show that Electrolux designed

the subject dryer in voluntary compliance with contemporaneous industry standards is

relevant to show that Electrolux acted reasonably in the design of the subject dryer.

       In Tincher v. Omega Flex, Inc., 104 A.3d 328 (Pa. 2014), the Pennsylvania

Supreme Court rearticulated the principles governing products liability actions in

Pennsylvania’s state courts. Tincher permits an examination of a manufacturer’s

conduct and reasonableness during the design of a product in determining whether

liability attaches in a products liability context. Id. at 389. The holding in Tincher

blurred the bright line demarcation between negligence theories and strict products

liability theories, “counsel[ing] in favor of [the] admissibility” of evidence of compliance

with industry standards to defend against strict liability claims. Rapchak v. Haldex

Brake Prod. Corp., No. 2:13-CV-1307, 2016 WL 3752908, at *3 (W.D. Pa. July 14, 2016).

       In light of Tincher, and given that the Vitales assert both negligence and strict

liability theories, plaintiffs’ motion to preclude introduction of compliance with

contemporaneous industry standards is denied.

       (3) The Vitales’ motion to preclude evidence of depreciation and actual cash value

calculations made by Allstate in adjusting and settling the Vitales’ insurance claim is

GRANTED in part and DENIED, in part, without prejudice. The Vitales contend

that evidence of depreciation and actual cash value is irrelevant. Electrolux, on the other

hand, argues that any award of damages must take these discounts into account.


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       In Pennsylvania, the general measure of damages for reparable harm to real

property is “the lesser of the cost of repair or the market value of the affected property.”

Pa. Dep't of Gen. Servs. v. U.S. Mineral Prod. Co., 898 A.2d 590, 596 (Pa. 2006).

Damages for destroyed personal property are measured by the “fair market value” of the

item at the time it was destroyed, taking into account the age and condition of the item.

See id. at 612–13. Black’s Law Dictionary defines “fair market value” as “[t]he price that

a seller is willing to accept and a buyer is willing to pay on the open market” and lists

“actual cash value” as a synonym. Value, Black's Law Dictionary (10th ed. 2014).

“Actual cash value” can be calculated several ways, including the cost of replacement

minus depreciation, or by an assessment of the damaged property’s fair market value.

Actual Cash Value (ACV), INTERNATIONAL RISK MANAGEMENT INSTITUTE, INC. (IRMI),

https://www.irmi.com/term/insurance-definitions/actual-cash-value (last visited June

15, 2018). To avoid the trap of circular definitions, Pennsylvania law requires an

examination of the policy of insurance to define the relevant terms. See Kane v. State

Farm Fire & Cas. Co., 841 A.2d 1038, 1049–50 (Pa. Super. 2003).

       Here, as the Vitales note, the fire damage to their real property was repaired,

making the cost of repair the appropriate measure of damages. Accordingly,

depreciation has no bearing on establishing that Allstate properly calculated the cost of

repairing the Vitales’ real property and issued appropriate payments. Evidence of

depreciation may not be introduced to rebut or counter evidence establishing the

damages to the Vitales’ real property.

       As for the Vitales’ personal property, a ruling excluding evidence of depreciation

or actual cash value cannot be made without an examination of the policy of insurance.

The Vitales’ motion does not specify how Allstate calculated the amounts paid to adjust


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the personal property loss. Assuming that Allstate adjusted the personal property loss

pursuant to the terms and conditions of the policy of insurance, the policy would

illuminate the relevance of evidence of depreciation or actual cash value. If such

concerns were factored into the adjustment of the personal property portion of the

Vitales’ claim, such evidence would be highly probative of the accuracy of the amounts

paid and Allstate’s attendant right to recover the amounts paid as the subrogee of the

Vitales. Without an examination of the policy of insurance and its terms dictating the

adjustment of the personal property portion of the Vitales’ claim, a ruling on the

admissibility of evidence of depreciation or actual cash value is premature. The Vitales’

motion is denied, without prejudice, as it pertains to the personal property adjustment.

       (4) The Vitales’ motion to preclude evidence of insurance is DENIED, without

prejudice and subject to the conditions discussed below.

       The Vitales move for exclusion of any mention of insurance. In support, they rely

on a quote from a case decided in this district court prior to the 1975 adaptation of the

Federal Rules of Evidence.1 As observed in the advisory committee notes to the 1972

proposed Federal Rule of Evidence 411, courts have rejected evidence of liability


1The Vitales rely on White Hall Bldg. Corp. v. Profexray Div. of Litton Indus., Inc., 387
F. Supp. 1202, 1206 (E.D. Pa. 1974), aff'd sub nom. Quaglia v. Profexray Div. of Litton
Indus., Inc., 578 F.2d 1375 (3d Cir. 1978), and aff'd, 578 F.2d 1377 (3d Cir. 1978), which
articulates the rationale later expressed by the committee drafting Federal Rule of
Evidence 411. To wit: “The law recognizes that the presence of an insurance company on
either side of a case may affect a jury's decision on the merits, and consequently the law
prohibits even the mention of the fact of insurance in a case if at all possible.” Id. The
court in White Hall expressed concern that the presence of insurance would preclude or
reduce plaintiff’s recovery because the jury would be able to easily discern that
insurance coverage would provide the same remedy as a jury verdict. Here, insurance
may arise in several different contexts, not just as an alternative to a jury award to
redress tortious behavior. For example, fact or expert witnesses employed or retained by
the insurer are almost inevitably going to testify. Given the nature of this case, a blanket
prohibition on any mention of insurance would be impracticable.


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insurance “with substantial unanimity.” Fed. Rule Evid. 411. Such a prohibition does not

extend to the broadest limits, precluding any mention of the concept of insurance. In

fact, Rule 411 prohibits introduction of insurance only where used to prove that a person

acted wrongfully. See, e.g., Ventura v. Kyle, 825 F.3d 876, 883 (8th Cir. 2016), cert.

denied, 137 S. Ct. 667, 196 L. Ed. 2d 525 (2017). It is difficult to see here how the

introduction of evidence establishing the existence of insurance coverage would be used

to create an inference of liability on the part of the Vitales. Rather, it appears that

plaintiffs wish to preclude the mention of insurance coverage to retain the strategic

advantage gained by bringing suit in the name of the insureds rather than in the name of

the insurance carrier.

       This is a subrogation action. As a subrogation action, the real party in interest is

Allstate, not its insureds. That said, Pennsylvania’s Rules of Civil Procedure permit

Allstate to bring an action in the name of its insureds, even where the insureds are not

the real party in interest. Pa. R. Civ. P. 2002(d). Additionally, Pennsylvania’s “collateral

source” rule “provides that payments from a collateral source [such as insurance] shall

not diminish the damages otherwise recoverable from the wrongdoer.” Johnson v.

Beane, 541 Pa. 449, 664 A.2d 96, 100 (1995). These two principles act in tandem to

minimize potential prejudice in cases involving a subrogated insurer. See Beechwoods

Flying Serv., Inc. v. Al Hamilton Contracting Corp., 504 Pa. 618, 622–23, 476 A.2d

350, 352 (1984) (reaffirming Pennsylvania’s adherence to the “collateral source” rule

and Pa. R. Civ. P. 2002(d) as measures appropriate “to avoid prejudicing a subrogated

insurer in the eyes of a jury in actions for reimbursement.”).

       Here, the Vitales move to preclude any mention of insurance or Allstate’s

payment of an insurance claim. This blanket preclusion casts too wide a net. Not only


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would such a ruling preclude admission of liability insurance (which is not at issue here)

for the proper purposes of proving bias, prejudice, agency, ownership, or control, Fed.

R. Evid. 411, it would preclude mention of insurance simply when recounting the nuts

and bolts of the investigation in the case, creating confusing gaps in the narrative flow of

the trial. Cf. Old Chief v. United States, 519 U.S. 172, 189 (1997):

              People who hear a story interrupted by gaps of abstraction
              may be puzzled at the missing chapters, and jurors asked to
              rest a momentous decision on the story's truth can feel put
              upon at being asked to take responsibility knowing that more
              could be said than they have heard. A convincing tale can be
              told with economy, but when economy becomes a break in
              the natural sequence of narrative evidence, an assurance that
              the missing link is really there is never more than second
              best.

       Plaintiffs will be required to call Allstate employees or contractors as witnesses to

prove damages. It is unclear how plaintiffs would establish the purpose of the Allstate

employees’ testimony without divulging who they are and why they happened to be

involved in the case. Moreover, Electrolux would be unable to conduct meaningful

cross-examination of any Allstate witnesses were any mention of insurance absolutely

prohibited.

       I am mindful of the very real possibility of prejudice to plaintiffs should the jury

be apprised of Allstate’s involvement in this matter, as well as the protections against

such prejudice afforded by the Pennsylvania Rules of Civil Procedure and the collateral

source rule. However, I must also consider the possibility that evidence of insurance

may properly be admitted to show bias, prejudice, ownership, or control, along with the

potential for jury confusion resulting from the parties’ inability to lay a proper

foundation for witnesses employed by Allstate.




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        I will grant the Vitale’s motion, insofar as it seeks to ban the mention of insurance

coverage, as such. To prevent the inappropriate preclusion of evidence of insurance

offered for permissible purposes, and to address the practical difficulties engendered by

presenting witnesses who cannot identify their employer, I deny the balance of the

Vitales’ motion, without prejudice. I direct the parties to jointly develop a protocol for

the treatment of witnesses employed by Allstate, including agreed-to procedures for

identifying any such witnesses to the jury. Additionally, the parties are cautioned not to

aver to the existence of insurance coverage or to Allstate’s role as a subrogated insurance

carrier. To be clear, the parties must carefully vet any mention of insurers or insurance

likely to come up at trial, and either come up with a mutually agreed protocol, or submit

their disputes to me in limine for resolution, no later than one week before the first day

of trial.

2. ECF No. 70 – Plaintiffs’ Motion in Limine to Exclude Industry Standard
   Evidence and the Dryer Design Opinions of Randall Bills, P.E.

        The portion of this motion addressing industry standard ANSI Z21.5.1 is

DENIED for the reasons stated when addressing Plaintiffs’ Motion in Limine docketed

at ECF No. 47.

        The Vitales also move to exclude the dryer design opinions of Electrolux’s expert

witness, Randall Bills, P.E. The Vitales argue that Mr. Bills’ opinion is inadmissible

because it is not reliable, as required by Federal Rule of Evidence 702. The motion is

DENIED. Electrolux’s request for oral argument on this issue (ECF No. 73) is DENIED

as moot.

        Federal Rule of Evidence 702 requires expert witness testimony to be: (1) helpful

to the trier of fact; (2) based on sufficient facts or data; (3) the product of reliable



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principles and methods; and (4) the product of a reliable application of the principles

and methods to the facts of the case. Fed. R. Evid. 702. Under Rule 702, the trial judge

assumes a “gatekeeping role,” admitting testimony that “rests on a reliable foundation

and is relevant to the task at hand.” Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579,

597 (1993). The Third Circuit has recognized a “trilogy of restrictions on expert

testimony: qualification, reliability, and fit.” Schneider v. Fried, 320 F.3d 396, 404 (3d

Cir. 2003). First, a witness must possess specialized expertise that qualifies them to

testify as an expert. Id. Second, the testimony must be reliable, meaning that it must be

scientifically valid and not based on subjective belief or unsupported speculation. Id.

(citing to In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 742 (3d Cir. 1994)). Finally, the

expert testimony “must be relevant for the purposes of the case and must assist the trier

of fact” – it must fit the case in which it is offered. Schneider, 320 F.3d at 404.

       The inquiry into admissibility of expert testimony is a flexible one, designed to

meet overarching concerns of relevance and reliability. Daubert, 509 U.S. at 594-95. It

is axiomatic that exclusion of expert testimony is an extreme sanction, frequently

rendered unnecessary because “[v]igorous cross-examination, presentation of contrary

evidence, and careful instruction on the burden of proof are the traditional and

appropriate means of attacking shaky but admissible evidence.” Id. at 596.

       While no challenge is directed to qualifications, the Vitales challenge the

reliability and fit of Mr. Bills’ testimony. They contend that Mr. Bills will offer deficient

testimony, arguing that “[i]t is not clear that Mr. Bills used any science-based method in

arriving at his . . . opinions” regarding the correlation between compliance with industry

standards and a lack of product defects, that Mr. Bills did not base his opinions on facts,

and that Mr. Bills’ opinions do not “fit” this case. Pls.’ Mot. in Lim. (ECF No. 70-2, at 7-


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10). I find that whatever merit these challenges have goes to the weight to be accorded

Mr. Bills’ testimony, not to its admissibility.

       First, the Vitales argue that Mr. Bills appears to base his opinions regarding

compliance with industry standards on conclusory statements provided by Electrolux,

rather than “any science-based method.” A review of Mr. Bills’ export report, see ECF

No. 70-3, shows otherwise. Mr. Bills based his opinions on a destructive examination of

the Vitales’ dryer, a review of the documents generated pursuant to this litigation2, the

industry standard ANSI Z21.5.1-2002 and related materials, public sector reports, the

contents of four depositions taken prior to March 31, 2016, and an article titled

“Thermal Degradation and Ignition Characteristics of Clothes Dryer Lint.” Id. at 3-5.

Included in the materials reviewed by Mr. Bills was the deposition of Carl King. Mr.

King testified to Electrolux’s in-house testing of the subject dryer, testing conducted in

accordance with, and to ensure compliance with, ANSI Z21.5.2-2002. Id. at 35. Mr.

King’s sworn deposition testimony provides a sufficiently reliable source for Mr. Bills’

opinion that the dryer design conformed with ANSI Z21.5.2-2002. Any perceived or

alleged infirmities in this portion of Mr. Bills’ testimony can be properly exposed

through “[v]igorous cross-examination, presentation of contrary evidence, and careful

instruction on the burden of proof.” Daubert, 509 U.S. at 596.

       Second, the Vitales argue that Mr. Bills’ opinions are not based on facts. In

support, the Vitales identify a litany of perceived holes in the data, or the explanation of

the data, relied upon by Mr. Bills in his expert report. See Pls.’ Mot. in Lim. (ECF No.

70-2, at 7-9). The Vitales even go so far as to speculate that “the test data that [Mr. Bills]

2Mr. Bills issued his report on March 31, 2016. ECF No. 73-2, at 1. It appears that he
reviewed the universe of litigation documents available as of that date, and the Vitales
do not identify any documents that Mr. Bills failed to review.

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claims to have relied on here appears to be the very same test data” excluded in a matter

before the Western District of New York in 2010.3 The adequacy of the facts

underpinning Mr. Bills’ opinions goes to the weight to be afforded his opinions, rather

than the admissibility of the opinions. His opinions suffice to withstand a threshold

challenge under Rule 702. Cross-examination provides an adequate venue in which to

challenge Mr. Bills’ opinions. If the factual predicates for his opinion are as deficient as

the Vitales intimate, I expect the Vitales’ attorneys will enjoy a profitable cross-

examination of Mr. Bills before a jury.

        Third, the Vitales challenge the “fit” of Mr. Bills’ testimony to the facts of this

particular case. Expert testimony “must be relevant for the purposes of the case and

must assist the trier of fact.” Schneider, 320 F.3d at 404. Here, Mr. Bills offered a list of

seventeen conclusions, each of which addressed the clothes dryer that forms the basis of

the Vitales’ complaint. ECF No. 70-3, at 1-2. Each of the conclusions directly concerns

the dryer, addressing the design of the dryer, the installation of the dryer, possible

points of origin for the fire, and the use of the dryer – all relevant to this matter. In

addition to being relevant, Mr. Bills’ conclusions, if credited, would undeniably be useful

to a trier of fact in determining how the fire started, where the fire started, why the fire

started, and whether the clothes dryer had any role in the ignition and/or spread of the

fire.

        For the reasons stated above, the Vitales’ Motion in Limine to exclude aspects of

the testimony of Electrolux’s expert, Randall Bills, P.E., is DENIED.




3See The Automobile Ins. Co. of Hartford a/s/o Sherry Demrick v. Electrolux Home
Products Inc., 2010 WL 3655743 (W.D.N.Y. 2010).


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              DEFENDANT ELECTROLUX’S MOTIONS IN LIMINE

3. ECF No. 36 – Defendant’s Motion to Preclude Testimony of Michael R.
   Stoddard, Jr. and William J. Vigilante, Jr., Ph.D.

       Electrolux moves to preclude the testimony of the Vitales’ proffered experts.

Def.’s Mot. in Lim. (ECF No. 36-1). The Vitales identified Michael Stoddard as an expert

in the product at issue and William Vigilante as an expert in human factors and

ergonomics. See Pretrial Mem. (ECF No. 42, at 3-5).

       The standards applicable to preclusion of an expert’s opinion have been

discussed. I must ensure that all expert evidence is both relevant and reliable. See

Pineda v. Ford Motor Co., 520 F.3d 237, 243 (3d Cir. 2008). There is “a strong

preference for admitting any evidence that may assist the trier of fact.” Id. Rule 702

imposes a trilogy of restrictions, relating to qualification, reliability, and fit. Schneider,

320 F.3d at 404. Electrolux argues that both Mr. Stoddard and Mr. Vigilante fail to meet

each of the three prongs of Rule 702, questioning the experts’ qualifications, the

reliability of their respective methodologies, and the fit of their opinions to the facts of

this case. I disagree.

       A. Mr. Stoddard is Qualified to Render the Opinions He Offers and
          Those Opinions are Both Reliable and Fit the Facts of this Case.

       Electrolux argues that Mr. Stoddard is not qualified to render opinions in the

following four areas: (1) clothes dryer design; (2) the composition and use of plastics in

the dryer; (3) the adequacy of the warnings and/or instructions that accompanied the

dryer; and (4) Electrolux’s internal corporate policies and procedures. Electrolux further

argues, as to each of these areas, that even if Mr. Stoddard is qualified to render

opinions in these areas, his opinions would be unreliable and untethered to the facts of

this case.


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              1. Mr. Stoddard’s Opinion on Clothes Dryer Design.

       Turning first to Mr. Stoddard’s opinions on clothes dryer design, I find Mr.

Stoddard qualified to render an opinion, that his opinion is sufficiently reliable to pass

muster under Daubert, and that his opinion fits the facts of the case. Electrolux argues

that Mr. Stoddard’s education, which includes a Bachelor of Science degree in Arson

Investigation and an Associates’ degree in electromechanical technology, makes him

qualified to render an opinion as to the cause and origin of the fire, but not the design of

the dryer. Def.’s Mot. in Lim. (ECF 36-1 at 8-10).

       In support of this position, Electrolux cites to Donegal Mutual Insurance Co.

a/s/o Vanessa Schantz v. Electrolux, No. 1:08-cv-2171 (M.D. Pa. Dec. 22, 2010)

(“Exhibit C” to Electrolux’s motion). In that case, the Court held that Mr. Stoddard was

not qualified to offer an opinion regarding the defective design of an Electrolux dryer.

Id. The Court precluded Mr. Stoddard’s testimony, reasoning that Mr. Stoddard was not

“sufficiently qualified to give his opinion as to why the [product] failed. [Plaintiff] has

not pointed to sufficient academic training or on-the-job experience which would qualify

Mr. Stoddard to provide an opinion as to whether the [product] failed as a result of a

design defect or otherwise.” Id. at 7 (emphasis in original).

       The Vitales argue that Rule 702 does not require an expert to have an engineering

degree or employment experience with a product manufacturer in order to opine on a

particular product. Pls.’ Resp. to Def.’s Mot. in Lim. (ECF No. 37-1 at 9). Rather, Mr.

Stoddard’s opinions are supported by multiple factors in Rule 702, including his

education, certifications, his more than 800 examinations of Electrolux dryers, his more

than 1,000 hours of testing performed on Electrolux dryers, his authorship of eighty-




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plus reports on Electrolux dryers, and his attendance at numerous training seminars

related to appliances and dryers. Id. at 7-8.

       The Vitales distinguish this case from Donegal, supra, noting that Donegal

involved a failure of a drum bearing and that that case was over seven years old. Id. at

10. The Vitales argue that since that time, Mr. Stoddard has conducted hundreds of

tests, investigations, and research in the field of dryer design and failures. Id. The

Vitales also correctly noted that Donegal runs contrary to Rager v. G.E., 2010 WL

5393857, which was issued on the same day, by the same judge, but reached a contrary

decision.4 Id.

       I find that Mr. Stoddard is qualified to testify as to the cause and origin of the fire

which, in this case, includes the allegedly defective design of the Electrolux clothes

dryer. Mr. Stoddard’s qualifications satisfy the liberal policy of admissibility under Rule

702 and Daubert. Mr. Stoddard designed and tested clothes dryers, including

alternative designs to Electrolux’s ball-hitch dryers. Pls.’ Resp. to Def.’s Mot. in Lim.

(ECF No. 37-1 at 8). Mr. Stoddard inspected hundreds of dryers, including Electrolux

dryers and various dryer models from other manufacturers. Id. I find that Mr. Stoddard

possesses specialized skill or knowledge in the area of dryer design that is “greater than

the average layman.” Id. at 4 (citing Elcock, 233 F.3d at 741). Therefore, he is qualified

4 In Rager, the expert concluded that the fire was caused by lint that ignited at the
electric heating element, which continued to ignite “secondary fuels in the dryer.”
According to the expert’s “lint ignition theory, this process occurs because of a design
defect in GE dryers.” Rager, 2010 WL 5393857, at *7. The Court held that the expert
was qualified to testify, reasoning that “[the expert] has been a fire cause and origin
analyst for over thirty years and has conducted at least 3,000 fire investigations. He is
certified by the National Association of Fire Investigations . . . in the last ten years he
has dedicated approximately twenty hours per week to investigating fires, identifying
and examining exemplar dryers, and testing dryers . . . he has conducted over one
thousand hours of testing dryers to see whether lint will ignite and what happens when
lint does ignite.” Id. at *9.


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to testify as to the cause and origin of the fire, including that the fire was allegedly

caused by the defective design of the Electrolux dryer.

       In addition to being qualified to offer the opinion, the opinion itself is reliable

and fits the facts of this case. Electrolux argues that Mr. Stoddard’s testing and

methodologies were flawed for a number of trifling reasons,5 Def.’s Mot. in Lim. (ECF

No. 36-1 at 15-17), none of which I find convincing.

       I find that Mr. Stoddard’s testimony concerning the allegedly defective design of

the dryer is reliable under Daubert. Mr. Stoddard’s opinion concerning the cause and

origin of the fire is based on the methods and procedures of science, not on subjective or

unsupported speculation. His investigation was guided by the NFPA 921: Guide for Fire

and Explosion Investigations, which “is a consensus document addressing all aspects of

fire science, and has been recognized by numerous federal courts as providing a reliable

methodology for fire investigation.” Pls.’ Resp. to Def.’s Mot. in Lim. (ECF No. 37-1 at

15) (citing to State Farm Fire & Cas. Co. v. Steffen, 948 F. Supp. 2d 434, 442 (E.D. Pa.

2013)). Mr. Stoddard’s investigation also included a dozen separate categories of tests

performed by Mr. Stoddard, which satisfies Daubert’s “testability” factor.

       I find that Mr. Stoddard employed a reliable methodology that satisfies the

flexible policy of admissibility under Rule 702 and Daubert. See In re TMI Litig., 193

F.3d 613, 665 (3d. Cir. 1999) (“the standard for determining reliability is not that high,

even given the evidentiary gauntlet facing the proponent of expert testimony under Rule


5For example, Electrolux contends that Mr. Stoddard’s testing was not representative of
consumer usage because he continually dried brand new towels ten times. Doc. No. 36-1
at 16. Electrolux has not produced data suggesting that the newness of towels or the
number of times they are dried makes a material difference to lint accumulation or dryer
functioning. It is not self-evident that either factor makes a difference. Electrolux is free
to make these points during cross-examination.


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702.”). Electrolux’s various arguments attacking the conclusions drawn from Mr.

Stoddard’s investigation are appropriate for cross-examination, but do not warrant

preclusion under Daubert.

              2. Mr. Stoddard’s Opinion on Plastics Used in the Dryer.

       For the reasons discussed regarding Mr. Stoddard’s opinions as to dryer design, I

find that Mr. Stoddard is qualified to testify regarding the use of plastics in the dryer

because he has the specialized expertise required under Rule 702 and Daubert. Mr.

Stoddard’s opinions are supported by his education, training, and experience, as well as

his examination of over 800 Electrolux dryers and over 1,000 hours of testing related to

Electrolux dryers. I find further support for Mr. Stoddard’s qualifications in his testing

of identical plastics to determine the flammability, melting, and spreading within the

dryer cabinet, which he then compared to steel component parts. This satisfies the

liberal policy of admissibility under Daubert. I find that Mr. Stoddard is qualified to

render an opinion regarding the use of plastics in the dryer.

       As for reliability, Electrolux points to a case from the Western District of

Wisconsin where, according to Electrolux, Mr. Stoddard’s testimony regarding plastics

was deemed inadmissible. See Def.’s Mot. in Lim. (ECF No. 36-1 at 14) (citing to

American Family Mutual Insurance Co. v. Electrolux Home Properties, Inc., No. 11-cv-

678 (W.D. Wisconsin)) (attached as “Exhibit E” to Electrolux’s motion). The issue was

whether Mr. Stoddard’s testimony concerning fire containment was relevant based on

the facts of the fire at issue. The Court ultimately deferred ruling on the matter until the

record was developed, noting that Electrolux was “free to re-assert its relevance

objection after the record has been more fully developed.” American Family, No. 11-cv-

678 at 8.


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       Electrolux’s reliance on American Family is misplaced. There, the issue was not

whether Mr. Stoddard’s opinion concerning the use of plastics was reliable. In fact, the

Court held that this testimony was reliable, reasoning:

              I am satisfied from Stoddard’s reports that there is a
              sufficient link between his testing and review of alternate
              designs and his opinion regarding the risk posed by
              Electrolux’s choice of certain plastics for some of the dryer
              components.

Id. Electrolux’s argument is without merit.

       I find that the Rule 702 factors weigh in favor of admitting Mr. Stoddard’s

testimony concerning the use of plastics in the dryer. Mr. Stoddard’s method consists of

a testable hypothesis – Mr. Stoddard tested the burn characteristics of HB-rated plastics

and 5V-rated plastics and concluded that the use of alternative materials would be

effective in containing the fire to the cabinet in most conditions. Pls.’ Resp. to Def.’s

Mot. in Lim. (ECF No. 37-1 at 16) (citing to Mr. Stoddard’s report at 172-176). This is

sufficiently reliable under Daubert’s flexible standard. I find that Mr. Stoddard’s

methods are reliable and preclusion is not warranted. To the extent Electrolux argues

that Mr. Stoddard’s opinions on fire containment are irrelevant because he failed to

account for the dryer door being open, this issue can be adequately addressed during

cross-examination. Preclusion is not warranted.

              3. Mr. Stoddard’s Opinion on the Adequacy of Warnings and
                 Instructions.

       Mr. Stoddard will testify that he “designed and tested several alternative designs

that would have prevented the accumulation of lint by the dryer’s heat source, prevented

the plastic component parts from igniting or spreading the fire, or warned the user that




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cleaning the area was necessary.” Pls.’ Resp. to Def.’s Mot. in Lim. (ECF No. 37-1 at 3)

(citing to Mr. Stoddard’s report at 87-110).

       Electrolux argues that Mr. Stoddard is not qualified to testify regarding whether

the warnings and instructions are defective and how users understand product warnings

because he does not have any formal education in psychology, human factors, or

product warnings and instructions. Def.’s Mot. in Lim. (ECF No. 36-1 at 11). Electrolux

cites to Donegal, supra, where the Court held that Mr. Stoddard was not qualified to

opine as to the adequacy of warnings because he did not have any “specialized

experience in human factor engineering that would allow him to give an opinion beyond

that of the average lay person.” Id. (citing to Donegal Mutual Insurance Co., No. 1:08-

cv-2171 at 7).

       The Vitales argue that Mr. Stoddard does not offer an opinion related to the field

of human factors – this testimony is reserved for Dr. Vigilante. Pls.’ Resp. to Def.’s Mot.

in Lim. (ECF No. 37-1 at 11). Rather, Mr. Stoddard will testify that Electrolux did not

need warnings because they should have changed the design to eliminate the hazard or

placed a guard protecting against the hazard. Id. Mr. Stoddard will testify that, only as a

last resort under the safety hierarchy, should Electrolux have relied on warnings. Id. The

Vitales also cite to Pineda v. Ford Motor Company, 520 F.3d 237, 245 (3d Cir. 2008),

where the court held that a design expert could testify that providing warnings was a

solution to a safety engineering problem. There, the Court expressly noted that the

testimony was not about language, font, or color (which would require a “warnings

expert”), but was about a possible solution to an engineering safety problem. Id. at n. 12.

       I find that Mr. Stoddard possesses the “broad range of knowledge, skills, and

training to qualify as an expert” concerning the adequacy of the warnings/instructions.


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Pineda, 520 F.3d 237 at 244 (citing Paoli, 35 F.3d at 741). As the Third Circuit

explained, “it is an abuse of discretion to exclude testimony simply because the trial

court does not deem the proposed expert to be the best qualified or because the

proposed expert does not have the specialization that the court considers most

appropriate. Id. (citing Holbrook v. Lykes Bros. S.S. Co., 80 F.3d 777, 782 (3d Cir.

1996)). Mr. Stoddard’s testimony does not concern the language, font, color, or any

other features of the warnings/instructions that would require a human factors expert.

Plaintiff will rely on Dr. Vigilante for this testimony. Therefore, I find that Mr. Stoddard

is qualified to render an opinion concerning the adequacy of warnings and/or

instructions as a solution to a safety engineering problem.

               4. Mr. Stoddard’s Opinions Regarding Electrolux’s Internal
                  Corporate Policies and Procedures.

         Mr. Stoddard opines that Electrolux’s engineers failed to make any attempt to

reduce the risk of fire or improve the fire containment properties of the clothes dryer.

Pls.’ Resp. to Def.’s Mot. in Lim. (ECF No. 37-1 at 13) (citing to Mr. Stoddard’s report6).

Electrolux argues that Mr. Stoddard has no formal education in corporate management,

and he is not qualified to render an opinion on internal corporate policies and

procedures. Def.’s Mot. in Lim. (ECF No. 36-1 at 11).

         The Vitales argue that Mr. Stoddard is qualified to speak to general principles of

product design, including safety hierarchy. Pls.’ Resp. to Def.’s Mot. in Lim. (ECF No.

37-1 at 13). The Vitales rely on Mr. Stoddard’s education and experience, and that he

attended a training course offered by Whirlpool on the proper application of safety

principles to product design. Id.


6   These opinions appear on page 185 of Mr. Stoddard’s report.


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       Mr. Stoddard’s long experience and training qualify him to give an opinion that

the product is defective, including that it was defectively designed. But he is not a design

engineer, nor has he had experience in the day-to-day work of designing products for

manufacture and sale. Electrolux claims that Mr. Stoddard’s practical experience does

not qualify him to make judgments about what allegedly went wrong in the design

process.

       Mr. Stoddard makes the following five assertions in his report:

       [1]    “ . . . Electrolux has no formal internal product safety standards or
              training, . . . “;

       [2]    “Electrolux’s engineers failed to make any attempt to reduce the risk of fire
              in these Ball-Hitch clothes dryers.”;

       [3]    “ . . . [E]ven if [Electrolux] had tried to reduce the risk of lint fires through
              any engineering design, safeguard or through improvements to user
              warning and instruction, they made no attempt to improve the fire
              containment properties of the clothes dryers they manufactured.”;

       [4]    “It is clear that Electrolux was . . . negligent in failing to attempt any such
              engineering improvements . . . .”

Mr. Stoddard’s Report at P. 185.

       I will define the limits of Mr. Stoddard’s testimony with respect to each

numbered item:

       [1] Mr. Stoddard’s practical experience in examining Electrolux dryers, and his

review of Electrolux internal documents and other sources of evidence, supplies him

with an ample basis for opining that “Electrolux has no formal internal product safety

standards or training.” Electrolux may dispute this assertion through cross-

examination, as well as by introducing its own evidence. Mr. Stoddard’s experience does

not qualify him to opine about whether having “formal internal product safety standards

or training” is a standard of care in the world of dryer product design, nor does his



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experience qualify him to opine as to any causal link between the absence of a formal

internal product safety standards and the design flaws in the product.

       [2] Mr. Stoddard may opine that the documents and other information he has

reviewed, coupled with the condition of the product he examined, does not reveal that

specific fire containment features, identified by Mr. Stoddard as feasible, were

incorporated into the design of the subject dryer.

       [3] Mr. Stoddard may also opine that the information he has reviewed does not

indicate that Electrolux attempted to incorporate such fire containment features into the

design of the dryer.

       [4] Mr. Stoddard may opine that the absence of specific fire containment features

identified by him [see No. 2, above] was negligent.

       Electrolux’s Motion in Limine to preclude the testimony of Mr. Stoddard is

DENIED, except that Mr. Stoddard may not testify as to whether having formal

internal product safety standards or training is a standard of care in the world of dryer

product design, nor may Mr. Stoddard opine as to any causal link between the absence

of a formal internal product safety standards and the design flaws in the product.

       B. Mr. Vigilante is Qualified to Render the Opinions He Offers and
          Those Opinions are Both Reliable and Fit the Facts of this Case.

       Dr. Vigilante is an expert in Human Factors and Ergonomics Consulting. He will

testify that the “dryer was defective because it failed to adequately warn the user that

lint can accumulate behind the dryer drum and to have the interior of the dryer cabinet

(including behind the dryer drum) cleaned by a professional every 12 months.” Pls.’

Resp. to Def.’s Mot. in Lim. (ECF No. 37-1 at 3) (citing to Dr. Vigilante’s report at 38-

39). It is Dr. Vigilante’s opinion that the warning system was inadequate under industry



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standards. Id. Electrolux argues that Dr. Vigilante’s opinion regarding an “adequate

warning system” is unreliable, and that Dr. Vigilante failed to tie his opinions to the

facts of the case in a meaningful way. Def.’s Mot. in Lim. (ECF No. 36-1 at 17-23).

       Electrolux argues that Dr. Vigilante’s opinion is based on a “thought experiment”

which is not a reliable methodology. Id. at 19. Electrolux criticizes Dr. Vigilante’s

“speculative leap” that the Vitales would have followed his proposed warnings and

avoided the fire, reasoning that there is no evidence that the Vitales would have seen his

proposed warnings, read them, heeded the warnings, or complied with them. Id. at 20.

Electrolux also argues that Dr. Vigilante’s opinion lacked application of ergonomics

methodology. Id. at 21. Electrolux cites to Curry v. Royal Oak Enters, LLC, where the

court held that the ergonomic expert was unreliable because he “used little, if any,

methodology, beyond his own intuition” and because he “conducted no tests.” 2013 U.S.

Dist. Lexis 88760, at *14 (E.D. Pa. 2013). Finally, Electrolux asserts that Dr. Vigilante’s

opinions were unsubstantiated because he did not conduct any tests or surveys to

support his presumption that alternate warning labels would protect consumers from

dryer fires caused by lint accumulation. Def.’s Mot. in Lim. (ECF No. 36-1 at 21-11)

(citing to Mause v. Global Household Brands, Inc., 2003 U.S. Dist. Lexis 18958, at *12

(E.D. Pa. 2003)).

       The Vitales argue that Dr. Vigilante relied on the scientific method to reach his

conclusions – he hypothesized that the dryer’s warnings may be inadequate and that the

warnings he proposed may be adequate. Pls.’ Resp. to Def.’s Mot. in Lim. (ECF No. 37-1

at 21). He gathered the relevant data and tested it against his hypothesis. Id. He tested

the existing warning system and his proposed warnings against core principles in the

field of ergonomics and according to industry standards. Id. The Vitales argue that this


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method has been found reliable in the Third Circuit. Id. at 23. The Vitales also

distinguish this case from Curry, supra, noting that the expert in Curry was a trained

chemist, and was not qualified to give an opinion on warnings. Id. at 24.

       The Vitales also argue that the alleged lack of “live” tests or surveys does not

render Dr. Vigilante’s opinion inadmissible. Pls.’ Resp. to Def.’s Mot. in Lim. (ECF No.

37-1 at 23) (citing to Jenks v. New Hampshire Motor Speedway, 2012 WL 405479, at *3

(D.N.H. Feb. 8, 2012)). Further, the ergonomics literature and industry standards upon

which Dr. Vigilante relied is based on studies of “real life” testing and it is reliable to rely

on these principles. The Vitales distinguish the facts of this case from Mause noting

that, in that case, the expert did not base his opinion regarding the warnings on any

industry standard or literature in the field of human sciences.

       I find that Dr. Vigilante’s opinion is based on a reliable methodology under

Daubert’s liberal standard. Dr. Vigilante’s opinions are not based on a “thought

experiment,”7 but rather are based on methods and procedures of science, including

industry standards and principles of ergonomics. His method consisted of a testable

hypothesis – he opined that the subject dryer’s warnings were insufficient and that the

warnings he proposed were sufficient, gathered the relevant data, and tested it against

his hypothesis. This methodology is sufficiently reliable under Rule 702 and Daubert.

To the extent Electrolux argues that there is no evidence that the Vitales would have

followed Dr. Vigilante’s proposed warnings, this is properly addressed on cross-

examination and does not warrant preclusion.



7 “Thought experiment” is thrown about as a pejorative. The theory of relativity was
largely developed as an extended thought experiment. It happened to be a very good
thought experiment, which was borne out by subsequent testing.

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       Electrolux’s Motion in Limine to preclude the testimony of Dr. Vigilante is

DENIED.

4. ECF No. 41 – Defendant’s Motion to Conduct Deposition of Ron Parsons
   and Continue Trial

       Electrolux moves for leave to conduct a deposition of the Vitales’ non-testifying

expert, Ronald Parsons, and to continue the trial date to allow time for the deposition.

Def.’s Mot. in Lim. (ECF 41-1). In response, the Vitales filed an opposition to

Electrolux’s motion and a cross-motion requesting leave to amend their Complaint to

include claims of abuse of legal process against Electrolux. Pls.’ Resp. to Def.’s Mot. in

Lim. (ECF 55-2, at 1).

       Mr. Parsons has not been designated as a testifying expert. Def.’s Mot. in Lim.

(ECF 41-1, at 1). The Vitales have designated Michael Stoddard as a testifying expert.

Def.’s Mot. in Lim. (ECF 41-1, at 1). Mr. Stoddard will testify as to the contents of an

expert report that he co-authored with Mr. Parsons. Def.’s Mot. in Lim. (ECF 41-1, at 1).

Because Mr. Parsons was not designated as a testifying expert, Electrolux initially chose

not to depose Mr. Parsons, and was content to rely upon deposition testimony from Mr.

Parsons in earlier matters involving similar dryers. Def.’s Mot. in Lim. (ECF 41-1, at 2).

       However, Electrolux has since become aware of a motion filed in an unrelated

litigation challenging the competency, credibility, and truthfulness of sworn testimony

offered by Mr. Parsons in a number of earlier lawsuits, including some involving dryers

similar to those at issue here. Def.’s Mot. in Lim. (ECF 41-1, at 2). Electrolux now seeks

to depose Mr. Parsons to inquire into “matters affecting his competency, credibility and

bias.” Def.’s Mot. in Lim. (ECF 41-1, at 2).




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       For the reasons discussed below, Electrolux’s motion is DENIED in full, and the

Vitales’ cross-motion is DENIED.

       As Electrolux correctly observes, the Federal Rules of Civil Procedure permit

parties to “depose any person who has been identified as an expert and whose opinions

may be presented at trial.” Def.’s Mot. in Lim. (ECF 41-1, at 3) (citing to Fed. R. Civ. P.

26(b)(4)(A)). However, Electrolux does not sufficiently identify which portions, if any,

of Mr. Stoddard’s expert opinion can be properly attributed to Mr. Parsons. Instead,

Electrolux simply draws the conclusion that Mr. Parsons, by dint of signing the report,

must have rendered at least some part of the opinions contained therein.

       While this conclusion is not irrational, it does not justify the deposition of a non-

testifying expert. As Rule 26 plainly states, the deposition of a non-testifying expert may

be taken “only . . . on showing exceptional circumstances under which it is impracticable

for the party to obtain facts or opinions on the same subject by other means.” Fed. R.

Civ. P. 26(b)(4)(D)(ii). Electrolux has access to Mr. Stoddard, a designated expert

perfectly capable of providing Electrolux facts and opinions on issues regarding the

underlying dryer fire. Mr. Stoddard clarified the provenance of the opinions contained

in the expert report in a sworn affidavit submitted to the court. Mr. Stoddard stated that

he wrote the expert report, that all opinions expressed in the report were held by him,

and that Mr. Parsons “cross-signed” the report, a standard quality control practice of

forensic consulting firms. Mr. Stoddard further avers that Mr. Parsons’ participation in

this matter was limited to reviewing Mr. Stoddard’s finalized report. Given Mr.

Stoddard’s sworn affirmations, Mr. Parsons’ involvement in producing the report does

not amount to the “exceptional circumstances” under which a non-testifying expert may

be deposed. Id.


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       Electrolux next argues that a deposition of Mr. Parsons is required to probe

issues of his character. I disagree. Electrolux relies entirely on allegations contained in a

motion filed in an unrelated litigation in another district court to argue that Mr. Parsons

should be open to a deposition. Rule 26 does not permit the deposition of a non-

testifying expert, as an ordinary matter, and cannot reasonably be read to permit a

deposition solely to develop impeachment material for a non-testifying expert. Because

Mr. Parsons will not testify in a trial of this matter, Electrolux has no need to develop,

and no opportunity to utilize, impeachment material. Electrolux may not depose Mr.

Parsons solely to inquire into issues regarding his character.

       Electrolux’s final argument – that the deposition of Mr. Parsons should be

permitted despite being requested after the expiry of the discovery period – is denied as

moot in light of my ruling that Mr. Parsons may not be deposed for more substantive

reasons.

       I also deny the Vitales’ cross-motion seeking leave to add claims that Electrolux

has abused the legal process by submitting this Motion in Limine. The Vitales’

underlying argument, that Electrolux seeks Mr. Parsons’ deposition for the ulterior

purpose of obtaining impeachment material for use in unrelated future matters, is

speculative and does not satisfy the elements of an abuse of process claim. To establish

an abuse of process claim under Pennsylvania law, the Vitales would need to show that

Electrolux (1) used a legal process against them, “(2) primarily to accomplish a purpose

for which the process was not designed; and (3) harm has been caused” to the Vitales.

Credico v. Hubiak, No. 3306 EDA 2016, 2017 WL 1505246, at *5 (Pa. Super. Ct. Apr. 21,

2017) (citing to Rosen v. American Bank of Rolla, 627 A.2d 190, 192 (Pa. Super. 1993)).

The Vitales lay out this standard and provide additional case law elaborating on this


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standard, but fail to state a claim. The Vitales do not explain (1) how a legal process was

used against them, (2) that Electrolux intended to accomplish some improper purpose,

or (3) that harm has been caused, beyond a statement that Electrolux filed a motion to

which the Vitales responded, incurring costs. Because it appears that the Vitales do not

have a valid cause of action for abuse of legal process, I deny their cross-motion seeking

leave to amend their Complaint to include these claims.

5. ECF No. 43 – Defendant’s Motion in Limine to Preclude Testimony and
   Evidence Related to the Location of Electrolux Manufacturing Plants

       Electrolux moves to preclude testimony and evidence relating to Electrolux’s

Webster City, Iowa and Juarez, Mexico manufacturing plants. Electrolux’s motion is

GRANTED.

       Electrolux opened a manufacturing plant in Juarez, Mexico in 2008. In 2011,

Electrolux moved its dryer manufacturing operations to the Juarez plant, and closed its

Webster City, Iowa plant. Def.’s Mot. in Lim. (ECF 43-1, at 1-2). Electrolux argues that

any discussion of the opening or closure of these manufacturing plants is irrelevant

under Rule 401 or, in the alternative, excludable under Rule 403’s balancing test. The

Vitales counter with allegations of a conspiracy by Electrolux to shield itself from

“mounting litigation claims” by relocating to Mexico, adopting a safer bulkhead dryer

design, laying off all employees associated with the old ball-hitch design, and destroying

key records relating to the ball-hitch design. Pls.’ Resp. to Def.’s Mot. in Lim. (ECF 59-2,

at 2). The Vitales argue that the move to Mexico provides evidence of Electrolux’s

internal risk-utility analysis. I disagree.

       The opening of one manufacturing plant and the closure of another has only the

slightest hint of relevance to the issues in this case. That limited relevance is not only



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attenuated, it is premised on a conspiracy theory for which the Vitales appear to offer

only summary assertions in support.

       Any evidence of the move to Juarez presents little probative value, which is

substantially outweighed by the danger of unfairly prejudicing Electrolux. Evidence that

Electrolux closed a U.S. plant and moved to a foreign jurisdiction promises to unfairly

prejudice Electrolux by tempting the jury to punish Electrolux for putting U.S. workers

out of work, rather than helping them to decide the actual issue in the case on the

merits. AThe prejudice against which Rule 403 guards is unfair prejudice – prejudice of

the sort which clouds impartial scrutiny and reasoned evaluation of the facts, which

inhibits neutral application of principles of law to the facts as found.@ United States v.

Starnes, 583 F.3d 196, 215 (3d Cir. 2009); see Old Chief, 519 U.S. at 180 (Aunfair

prejudice@ refers to the capacity of evidence to Alure@ a jury into finding guilt on

improper basis). The issue also promises to be a waste of time, since evidence of the

reasons for the move will consume substantial trial time, with no promise that the sum

of all the details will actually shed light on whether the product was well or defectively

designed.

       Because the twin dangers of unfair prejudice and waste of time substantially

outweigh the limited probative value of any evidence of the company’s move to Juarez,

Electrolux’s motion is GRANTED.

6. ECF No. 44 – Defendant’s Motion in Limine to Exclude Evidence of a
   Japanese Government Investigation into Electrolux Products

       Electrolux’s motion to preclude evidence of an investigation of dryer fires in

Japan is GRANTED.




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       Electrolux moves to preclude evidence of dryer fires in Japan and subsequent

investigations by Japanese government agencies. Electrolux argues that the Japanese

dryer fires did not occur under circumstances substantially similar to those surrounding

the fire in the Vitales’ dryer, making such evidence inadmissible under Rule 401 of the

Federal Rules of Evidence. Electrolux additionally argues that this evidence is

inadmissible under Rule 402, fails Rule 403’s balancing test, and does not satisfy any

exception to the rule against hearsay. Def.’s Mot. in Lim. (ECF No. 44-1). The Vitales

counter that evidence of the Japanese fires is admissible to prove “the defect,

Electrolux’s knowledge of the defect, the feasibility of certain design alternatives, and

[Electrolux’s] negligence.” Pls.’ Resp. to Def.’s Mot. in Lim., at 7- 12 (ECF No. 65).8

       As noted by the parties, Judge Pappert recently addressed this same issue. Cloud

v. Electrolux Home Products, Inc., 15-cv-00571, ECF No. 136-1, at 7-9 (E.D. Pa. Jan. 30,

2017). I agree with Judge Pappert’s assessment. I am convinced by Electrolux’s

argument that the Japanese dryer fires did not occur under substantially similar

circumstances to the fire in this case. I similarly agree with Judge Pappert that

admission of this evidence for purposes of proving feasibility of design alternatives

invites a “trial within a trial.” Introduction of this evidence would require comparing the

circumstances under which Electrolux proposed any design alternative for the Japanese

market to the circumstances surrounding products available in the U.S. market, not to

mention a detailed examination and comparison of the products themselves.

       As for the products themselves, there is evidence to indicate that the product(s)

available in Japan were not substantially similar to the product at issue here. The Vitales

8Plaintiffs did not number the pages in their document and this filing somehow escaped
the ECF stamp. This citation is to pages 7-12 of the PDF document filed at ECF No. 65
and downloaded for review.

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contend that the Japanese government’s investigation resulted in findings consistent

with the allegations of defect here: the dryers allowed lint to accumulate in close

proximity to a heat source, igniting adjacent combustible plastic component parts. Pls.’

Resp. to Def.’s Mot. in Lim., at 4-5 (ECF No. 65). However, significant differences

between the products undercut these broad similarities. Electrolux states that

modifications made by the Japanese distributor prior to sale in Japan render the

products dissimilar. Additionally, Electrolux identifies a number of installation issues

unique to the Japanese fires. These include: running the dryer on a reduced power

supply, thus diminishing the air flow capacity of the dryer; using screens to cover

exhaust hoods; using venting exceeding the length recommended by Electrolux; and the

use of enriched liquefied natural gas to operate the dryers, increasing the dryers’ heating

value without the necessary design accommodations. Def.’s Mot. in Lim. (ECF No. 44-1,

at 1-2). I agree with Electrolux that modifications made in Japan, along with installation

practices peculiar to the Japanese market, make the Japanese products substantially

dissimilar to their domestically available brethren. Because the Japanese products are

not substantially similar to the product at issue here, evidence of Japanese fires presents

a danger of unfair prejudice that substantially outweighs the rather faint relevance that

might be attributed to the evidence, whether introduced to prove the existence of a

defect, Electrolux’s knowledge of a defect, or Electrolux’s alleged negligence.

       As for proving the existence of a feasible design alternative, the evidence of the

Japanese fires is unhelpful for other reasons. The Vitales offer evidence that Electrolux

responded to the Japanese investigation by proposing a design modification – a switch

that automatically shut down the dryer once it detected restricted air flow. Pls.’ Resp. to

Def.’s Mot. in Lim., at 5-6 (ECF No. 65). As Judge Pappert observed, admitting evidence


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of the Japanese fires to prove the feasibility of a design alternative runs afoul of Rule

403. Cloud, 15-cv-00571, ECF No. 136-1, at 8-9. Assuming, arguendo, that evidence of

Electrolux’s response to the Japanese fires might be relevant, under Rule 401, it should

be excluded under Rule 403 because its probative value is substantially outweighed by

the danger of confusing the issues, misleading the jury, undue delay, and wasting time.

       Based on the above, Electrolux’s motion to preclude evidence of an investigation

of dryer fires in Japan is GRANTED.

7. ECF No. 46 – Defendant’s Motion in Limine to Preclude Evidence of “The
   Australian Thesis”

       Electrolux’s motion to preclude evidence of the Australian Thesis is GRANTED.

       Electrolux moves to preclude evidence of “The Australian Thesis.” Despite its

interesting moniker, the Australian Thesis offers little intrigue. The thesis is the work of

two graduate students from Lulea Institute of Technology in Sweden. For their Master’s

thesis, the two students obtained permission from an Electrolux entity to study a

“common platform dryer” developed exclusively for the Australian market in 2006.

Basing themselves at the University of South Australia, the two Swedish students

conducted studies comparing the Australian dryer design to older Electrolux models.

According to the Vitales, the students reached the conclusion that Electrolux changed

the design of their dryers “to reduce the risk of catching fire comparing to its

antecedents.” Pls.’ Resp. to Def.’s Mot. in Lim. (ECF No. 60-2, at 2) (quoting Frederik

Kogerfelt and Emelie Svensson, User-Centred Fire Risk Assessment of Common

Platform Dryer (undated) 2006:139 ClV. ISSN: l4O2 - 1617. ISRN:LTU - EX - - 06/139 -

-SE (“The Australian Thesis”) at pp. ii-iii).




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       Electrolux argues that the thesis is inadmissible under Rule 401 due to a lack of

substantial similarity between the products studied by the students and the product at

issue. Def.’s Mot. in Lim. (ECF No. 46-1, at 2). Electrolux further contends that the

thesis is inadmissible under Rule 402, fails a Rule 403 balancing test, and cannot

overcome a hearsay objection. Id. at 3-5.

       In opposition, the Vitales argue that the thesis is relevant, and therefore

admissible, to show the availability of an alternative design and to show that Electrolux

“knew or should have known [that the alternative design] was safer.” Pls.’ Resp. to Def.’s

Mot. in Lim. (ECF No. 60-2, at 4).

       I am not convinced by the Vitales’ argument. The thesis does not purport to

identify an alternative to the design employed in the Vitales’ dryer. The Australian

Thesis addresses a product that is not substantially similar to the product giving rise to

this matter.

       In addition, the Vitales have not explained how they plan to authenticate the

document, how they plan to introduce the document, and how they will overcome the

hearsay objection certain to be raised by Electrolux. Electrolux’s motion to preclude

evidence of “The Australian Thesis” is GRANTED.

8. ECF No. 48 and ECF No. 50 – Defendant’s Motion in Limine to Preclude
   Evidence of any and all Electrolux Claims Data and Defendant’s Motion
   in Limine to Preclude Electrolux Warranty Data Evidence

       Electrolux moves to preclude from evidence any and all Electrolux claims data,

Def.’s Mot. in Lim. (ECF No. 48), and to preclude warranty data evidence, Def.’s Mot. in

Lim. (ECF No. 50). The motions are GRANTED in part.

       The claims data consists of data compiled by Electrolux in the process of

addressing reports of “property damage and/or personal injury stemming from fires


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involving Electrolux-manufactured dryers.” Def.’s Mot. in Lim. (ECF No. 48-1, at 3).

Similarly, the warranty data records requests for service and complaints of customers

related to the functioning of their dryer, but does not record complaints of property

damage caused by dryers. The records are kept and maintained in the ordinary course of

business. According to Electrolux, the database into which claim information is input

contains “over two- to three hundred different fields” collecting data points about each

claim. Def.’s Mot. in Lim. (ECF No. 48-1, at 3). Electrolux argues that these fields do not

provide information specific enough to determine whether individual claims are

substantially similar to the incident involving the Vitales. The Vitales counter that

Electrolux attempts to limit the data to circumstances identical to the Vitales’, rather

than just substantially similar. I agree with the Vitales for the same reasons expressed

by Judge Pappert in Cloud, 15-cv-00571, ECF No. 136-1, at 9-11.

       In Cloud, Judge Pappert limited the admissibility of the claims and warranty data

to “prior incidents involving (1) ball-hitch dryers, (2) that caught fire, (3) under

circumstances where there was evidence or allegations of lint accumulation.” Id. at 9.

Judge Pappert ruled that such evidence was admissible to show defect, reasoning that

these three predicates were substantially similar to the theories of defect advanced by

the Plaintiffs, and to the circumstances of the property damage giving rise to the matter.

Id. at 9-10. Judge Pappert’s reasoning applies here. The Vitales have alleged theories of

defect premised on Electrolux’s knowledge that the ball-hitch dryer design was

dangerous and defective. Claims and warranty data related to fires involving lint

accumulation in dryers using the same design is both relevant to and probative of the

theories advanced, without creating the risk of unfair prejudice. Accordingly, the Vitales

may introduce evidence of claims or warranty data that shows ball-hitch dryers catching


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fire under conditions with evidence of lint accumulation. Further, the Vitales may

introduce claims and warranty data from customers reporting fires occurring prior to

the expiry of Electrolux’s recommended lint-removal maintenance period to show that

warnings regarding maintenance schedules were inadequate.

       I caution the parties, as did Judge Pappert, that the contents of the claims and

warranty reports consisting of statements made by customers to Electrolux may be

admitted only if qualified under an exception to the rule against hearsay. Fed. R. Evid.

805. Assertions made by customers reporting damage or defect will likely be offered for

the truth of the matter asserted. As such, they must meet a hearsay exception. Such

arguments will be heard as they arise at trial.

       Electrolux’s motions to preclude from evidence any and all Electrolux claims

data, Def.’s Mot. in Lim. (ECF No. 48), and to preclude warranty data evidence, Def.’s

Mot. in Lim. (ECF No. 50) are GRANTED in part.

9. ECF No. 49 – Defendant’s Motion in Limine to Preclude Evidence of
   Fires Involving Dryers Other than the Dryer Involved in the Subject
   Incident

       Electrolux moves for an order “precluding evidence of other fires.” Def.’s Mot. in

Lim. (ECF No. 49, at 1). The motion is GRANTED in part. Electrolux argues that

evidence of other dryer fires cannot be shown to be substantially similar to the fire at

issue here. Electrolux contends that evidence of other fires is inadmissible because

“establish[ing] that the specific factual circumstances of each prior fire are substantially

similar to those of the subject incident . . . is simply not feasible.” Id. at 3. According to

Electrolux, substantial similarity cannot be established because “[t]here are simply far

too many variable circumstances” distinguishing each fire, including installation,

repairs, positioning, care, use, and more. Id. at 4. I disagree.


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        As discussed above, substantial similarity does not require identical

circumstances. Rather, prior incidents are substantially similar if they involve (1) ball-

hitch dryers, similar to the model owned by the Vitales, (2) that caught fire, (3) under

circumstances where there was evidence or allegations of lint accumulation. Evidence of

such prior incidents will be admissible to prove notice and defect, with the temporal

condition that any such incidents must have occurred prior to the fire at the Vitales’

home.

        In Cloud, Judge Pappert expressed concern regarding the plaintiffs’ attempt to

introduce evidence of prior lawsuits brought against Electrolux involving similar

products. Cloud, 15-cv-00571, ECF No. 136-1, at 11-12. Judge Pappert noted that

introduction of prior lawsuits would lead to a danger of unfair prejudice, causing jurors

to speculate as to the outcome of the lawsuits. This is especially true in light of the sheer

volume of litigation initiated against Electrolux pursuant to dryer fires.9 Were a jury

made aware of the various actions, they may improperly determine that there is “fire,” in

the form of liability, because there is “smoke,” in the form of lawsuits. That is an

improper and unfairly prejudicial inference. To avoid the danger of unfair prejudice to

Electrolux, the Vitales are precluded from offering evidence of lawsuits brought against

Electrolux involving dryer fires.

        Electrolux’s motion to preclude evidence related to prior incidents of fire is

GRANTED in part.

9 As of October 2013, there were 35 actions against Electrolux entities pending in 21
district courts. In re: Electrolux Dryer Prod. Liab. Litig., 978 F. Supp. 2d 1376 (U.S.
Jud. Pan. Mult. Lit. 2013) (addressing motion to centralize litigation in the Northern
District of Illinois). As Judge Pappert observed in Cloud, a class action was pending in
California, along with a consolidated mass tort action containing more than 200 claims
in the Northern District of Illinois, and multiple additional consolidated actions
throughout the country. Cloud, 15-cv-00571, ECF No. 136-1, at 11-12.


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10.    ECF No. 51 – Defendant’s Motion in Limine to Preclude Evidence
       Regarding Flexible Foil Venting Sold by an Electrolux Company

       Electrolux moves to preclude evidence related to flexible foil venting sold by an

Electrolux company. Def.’s Mot. in Lim. (ECF No. 51, at 1). The motion is DENIED.

       Electrolux anticipates that the Vitales will introduce evidence that Electrolux, or

an Electrolux entity, sold flexible foil venting for dryers. Electrolux anticipates the

Vitales using this evidence to show that Electrolux confused consumers by selling

Electrolux-branded flexible foil venting while simultaneously prohibiting the use of

flexible foil venting in the installation of its dryers.

       Electrolux argues that evidence of their prohibition on the use of flexible foil

venting and contemporaneous sale of flexible foil venting is irrelevant to the matter at

bar. I disagree. Electrolux asserts comparative negligence by the Vitales as an

affirmative defense. Answer, at 7 (ECF No. 9). Among other actions Electrolux claims

contributed to the fire at the Vitales’ home is the use of flexible foil venting in the

installation of the Vitales’ dryer.

       In Cloud, Judge Pappert denied Electrolux’s identical motion under somewhat

different facts. Cloud involved a fire in an Electrolux-branded dryer, for which the

installation instructions specifically forbade the use of flexible foil venting. Here,

Electrolux argues, the Vitales owned a GE-branded dryer, manufactured by Electrolux

and accompanied by installation instructions that permitted the use of flexible foil

venting if used according to the manual. This is a distinction without a difference.

       Electrolux argues that the Vitales used flexible foil venting improperly, rather

than arguing that they used it impermissibly, as in Cloud. Here, Electrolux plans to

argue that the Vitales used the flexible foil venting in a manner that allowed lint to



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accumulate. In Cloud, they argued that the plaintiffs used flexible foil venting, which

allowed lint to accumulate. This wrinkle may ultimately diminish the impact of evidence

showing that Electrolux sold flexible foil venting,10 but it does not merit preclusion. The

fact remains that Electrolux sold dryers, whether labeled as Electrolux products or

branded with a GE logo, that allegedly created a risk of lint accumulation and fire when

installed with flexible foil venting. That Electrolux itself sold flexible foil venting bears

directly on the merits of its affirmative defense of comparative negligence. In addition to

being relevant, evidence of flexible foil venting sold by Electrolux presents little danger

of confusing the jury or creating unfair prejudice, let alone unfair prejudice substantially

outweighing the probative value of the evidence.

       Electrolux’s motion to preclude evidence that it sold flexible foil venting is

DENIED.

11. ECF No. 52 – Defendant’s Motion in Limine to Preclude Evidence of the
    Bulkhead Dryer Design

       Electrolux moves to preclude evidence of the bulkhead dryer design. This motion

is DENIED.

       The Vitales bring products liability claims against Electrolux sounding in strict

liability. Under Tincher, a products liability cause of action requires proof of either the

risk-utility of a product or satisfaction of the consumer expectation test. Tincher v.

Omega Flex, Inc., 104 A.3d 328, 401 (Pa. 2014). To make a case under the risk-utility

test, a plaintiff must prove that the risks, i.e. the known dangers, of a product

outweighed the utility of the product, which can be demonstrated by adducing evidence


10It may also defang the comparative negligence defense to the point that Electrolux
does not even offer it. That will be for Electrolux to decide. What Electrolux does not get
to do is pretend that putting flexible tubing on its dryers is unheard of.

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of an available alternative design that was economically and practically feasible. See id.

at 407.

       Here, evidence of the bulkhead dryer design is relevant, probative, and likely vital

to the Vitales’ case. The Vitales plan to proffer evidence that an alternative design

existed that may have eliminated the safety risks allegedly presented by the ball-hitch

design of the Vitales’ dryer – the bulkhead design. The Vitales will likely offer evidence

that other manufacturers utilized the design prior to the design and manufacture of the

Vitales’ dryer. The employment of the bulkhead design by other manufacturers can

demonstrate that the alternative design was available, and that other competing

manufacturers used the design, tending to show that the design was practically and

economically feasible.

       Electrolux also contests the admission of evidence that later Electrolux products

utilized the bulkhead design. The fact that Electrolux eventually adopted the bulkhead

design is probative of all factors of the risk-utility test, including availability, economic

feasibility, and practical feasibility. In Cloud, Judge Pappert anticipated some concern

that evidence of Electrolux’s later adaptation of the bulkhead design may lead to

objections under Rule 407, which bars evidence of subsequent remedial measures as

direct proof of negligence, defect, or design defect. Cloud, 15-cv-00571, Memorandum

ECF No. 128-1, at 2. As noted in Cloud, evidence of subsequent remedial measures, such

as adopting the bulkhead design, is admissible for the purposes of showing that design

changes were feasible. Id. (citing to Berrier v. Simplicity Mfg., Inc., 563 F.3d 38, 43 n. 7

(3d Cir. 2009)).

       Electrolux argues that evidence of the bulkhead design would lead to jury

confusion, prolong the trial, and cause unfair prejudice to Electrolux. I disagree. There


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is little danger of unfair prejudice occasioned by the admission of evidence related to the

bulkhead dryer design. Jury confusion would be unlikely given the purpose for which

the Vitales will use this evidence. The Vitales will introduce evidence of the bulkhead

design to show (1) the general availability of a design alternative to Electrolux’s ball-

hitch dryer design, and (2) the widespread use of the bulkhead design by competing

manufacturers, which tends to show that the design was both economically and

practically feasible. These two simple concepts would be unlikely to confuse a jury. As

for prolonging the trial, the question under Rule 403 is not whether a trial will be longer

or shorter. The Rule speaks in terms of waste of time. A trial may be very long because

crucial evidence as to the central issue in the case takes a long time to develop. That is

not a waste of time. The Vitales’ design defect claim is at the core of the case. It requires

them to put on evidence satisfying the risk-utility test. Evidence of the availability and

widespread use of the bulkhead design allows a jury to infer that the design is useful and

does not pose an outsized risk. Such evidence does not promise to consume a great deal

of time. It is not disputed that Electrolux sold a dryer with a bulkhead design. Neither is

it disputed that other manufacturers sold bulkhead dryers. If the evidence becomes

unnecessarily cumulative, there is a remedy for that. See Rule 403.

       Electrolux has not demonstrated how this evidence will cause unfair prejudice.

To Electrolux’s concerns regarding “seed[s] of suspicion” in the minds of the jury and

their continuing manufacture of ball-hitch design dryers, Electrolux may present

evidence to counter and rebut evidence of the bulkhead design, including evidence that

they continue to manufacture ball-hitch design dryers and alternative explanations for

the adoption of the bulkhead dryer design.




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       Electrolux’s motion seeking to preclude evidence of the bulkhead dryer design is

DENIED.

12. ECF No. 53 – Defendant’s Motion in Limine to Preclude Evidence
    Relating to Electric Dryers

       Electrolux moves to preclude evidence related to electric dryers, arguing that the

design differences between gas dryers, like the one owned by the Vitales, and electric

dryers render them not substantially similar. Electrolux seeks to preclude “any and all

references, testimony, and/or introduction of evidence related to electric dryers.” Def.’s

Mot. in Lim. (ECF No. 53-1, at 1). According to Electrolux, the design differences

between gas and electric dryers are so significant as to make evidence regarding electric

dryers wholly irrelevant, and the introduction of such evidence would be more

prejudicial than probative. The Vitales counter by arguing that their theories of design

defect11 apply equally to both gas and electric clothes dryers. Critically, the Vitales

contend that their design defect theories hinge on the ball-hitch design, not the fuel

source of the dryer. Because Electrolux designed and manufactured ball-hitch dryers

fueled both by gas and electricity, evidence related to electric ball-hitch dryers is

relevant to and probative of the issues in this case.

       As proof of the significant differences between the gas and electric dryers,

Electrolux points to “different control features and functions, air flow configurations,

and basic sources of energy.” Def.’s Mot. in Lim. (ECF 53-1, at 2). The Vitales contend

that the substantial similarities arise in the context of the dryers’ propensity to allow lint

accumulation in proximity to the heat source, which can then ignite nearby combustible

11The Vitales allege that the dryer was defective because (1) the design allowed lint to
accumulate in close proximity to a heat source, (2) the plastic components used near the
heat source were combustible, allowing fire to spread beyond the dryer unit itself, and
(3) the dryer contained inadequate warnings.


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plastic components, which in turn allows fire to spread beyond the unit’s cabinet and

into the owner’s home. I find the Vitales’ contentions much more convincing. Electrolux

bears the burden of demonstrating irrelevance under Rule 401. The evidence is relevant,

under the forgiving standard of Rule 401, because it has a tendency to make a fact of

consequence more likely. In light of the allegations of design defect, evidence relating to

ball-hitch dryers, whether fueled by gas or electricity, is relevant and admissible here.

       Electrolux next argues that “any probative value [of electric dryer evidence] is

outweighed by the danger of unfair prejudice.” Def.’s Mot. in Lim. (ECF No. 53-1, at 3).

However, the standard under Rule 403 requires the probative value of evidence to be

“substantially outweighed by a danger of . . . unfair prejudice.” Fed. R. Evid. 403.

Electrolux contends that significant design differences make “any evidence relating to

electric dryers . . . an ‘improper basis’ upon which the jury may draw significant

conclusions.” Def.’s Mot. in Lim. (ECF No. 53-1, at 4). Electrolux has not satisfactorily

explained to me why electric, versus gas, heat makes a difference when the case focuses

on lint accumulation near a source of heat. Perhaps they will have more success

explaining to a jury why the distinction matters. The jury will be trusted to draw

conclusions about the ball-hitch design, whether incorporated in electric or gas dryers,

after due consideration of any nuances Electrolux cares to prove.

       Electrolux’s motion to preclude evidence related to electric clothes dryers is

DENIED.

                                     CONCLUSION

       For the reasons set forth above, the Vitales’ Omnibus Motion to Preclude Certain

Evidence (ECF No. 47) is GRANTED in part and DENIED in part. The Vitales’




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Motion in Limine to Exclude Industry Standard Evidence and the Dryer Design

Opinions of Randall Bills, P.E. (ECF No. 70) is DENIED.

      As for Electrolux’s motions in limine (ECF Nos. 36, 41, 43, 44, 46, 48, 49, 50, 51,

52, and 53), I issue the following rulings: ECF No. 36 is DENIED, except that Mr.

Stoddard may not testify as to whether having formal internal product safety standards

or training is a standard of care in the area of dryer product design, nor may Mr.

Stoddard opine as to any causal link between the absence of a formal internal product

safety standards and the design flaws in the product.; ECF No. 41 is DENIED, and the

Vitales’ cross-motion in response is DENIED; ECF No. 43 is GRANTED; ECF No. 44

is GRANTED; ECF No. 46 is GRANTED; ECF No. 48 and ECF No. 50 are GRANTED

in part; ECF No. 49 is GRANTED in part; ECF No. 51 is DENIED; ECF No. 52 is

DENIED; and ECF No. 53 is DENIED.

                                              BY THE COURT:



                                              /s/ Richard A. Lloret      .
                                              RICHARD A. LLORET
                                              U.S. Magistrate Judge




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